        Case 1:10-cv-00617-LJB Document 99 Filed 07/05/13 Page 1 of 1




            In the United States Court of Federal Claims
                                    No. 10-617 C
                                 (Filed July 5, 2013)

*********************
KENNETH EARMAN,          *
                         *
              Plaintiff, *
                         *
         v.              *
                         *
THE UNITED STATES,       *
                         *
              Defendant. *
*********************

                                      ORDER

       On July 3, 2013, plaintiff filed a First Unopposed Motion For Extension of
Time to File Plaintiff’s Reply to Defendant’s Response to Plaintiff’s Cross-Motion
for Summary Judgment. Therein, plaintiff seeks an enlargement of time of
fourteen days, to and including July 29, 2013, to file his reply brief in this matter.
Accordingly, it is hereby ORDERED that plaintiff’s motion is GRANTED; and
plaintiff shall FILE his Reply, on or before July 29, 2013.



                                                     /s/Lynn J. Bush
                                                     LYNN J. BUSH
                                                     Judge
